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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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  10    TAEK YOON,                                  Case No. CV 11-6792-VAP (KK)
  11                              Plaintiff,
  12                        v.                      ORDER ACCEPTING FINAL
                                                    FINDINGS AND
  13    LEE, ET AL.,                                RECOMMENDATION OF UNITED
                                                    STATES MAGISTRATE JUDGE
  14                              Defendant(s).
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Second Amended
  18   Complaint, the relevant records on file, and the Report and Recommendation of the
  19   United States Magistrate Judge. No objections have been filed. The Court accepts
  20   the findings and recommendation of the Magistrate Judge as set forth in the Final
  21   Report and Recommendation.
  22         IT IS THEREFORE ORDERED that (1) Defendants’ Motion for Sanctions is
  23   GRANTED; and (2) Judgment be entered dismissing this action with prejudice and
  24   without leave to amend.
  25   Dated: September 18, 2020
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                                               HONORABLE VIRGINIA A. PHILLIPS
  27                                           United States District Judge
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